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** A_DMJTTED IN MD, N.Y. AND D.O.

]uly 3, 2018

Via Electronic Filing

Honorable George ]arrod Hazel
United States District Court ]udge
United States District Court

For the District of Maryland

U.S. Courthouse

6500 Cherrywood Lane
Greenbelt, Maryland 20770

Re: My File: 337-161
Eric Wang v. City of Rockville
Case No: 8:17-cvb-02131-G]H

Dear ]udge Hazel:

Please accept this as the parties' joint status report, as called for by the February
21, 2018 Scheduling Order (ECF 21).

Discovery has been completed.
No motions are pending.

Both parties intend to file motions for summary judgment Pursuant to Local
Rule 105.2(c), We propose the following schedule:

» Defendant Will file its motion for summary judgment on or before August 6,
2018.

o Plaintiff Will file his cross-motion for summary judgment and a single
memorandum, both opposing Defendant’s motion and supporting his own cross
motion, on or before September 7, 2018.

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ATTO EY A.T LAW
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o Defendant shall file its opposition/ reply on or before September 28, 2018.
o Plaintiff may then file his reply on or before October 19, 2018.

No jury trial Was elected. We anticipate that trial can be accomplished Within a
day.

The parties have discussed the possibility of settlement but are in agreement that
settlement is not likely and that no purpose Would be served by referring the case for a
settlement conference.

There is no unanimous consent to refer the case to a U.S. Magistrate ]udge for all
further proceedings

Respectfully,
KARPINSKI, COLARESI & KARP

\M

BY: Daniel Karp

DK/ bkh
Cc: Eric Wang, Esquire

